      Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 1 of 25



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                      HARRISBURG DIVISION
JUDICIAL WATCH, INC.,

                  Plaintiff,
      v.

COMMONWEALTH of
PENNSYLVANIA; VERONICA
DEGRAFFENREID, Acting Secretary
of the Commonwealth; THE
LUZERNE COUNTY COUNCIL;
TIM McGINLEY, Chair, Luzerne             Civ. No. 1:20-cv-708
County Council; SHELBY
WATCHILLA, Director of Elections         (Judge Christopher C. Conner)
for Luzerne County; THE
CUMBERLAND COUNTY BOARD
OF COMMISSIONERS; GARY
EICHELBERGER, Chair,
Cumberland County Board of
Commissioners; BETHANY
SALZARULO, Cumberland County
Director of Elections; THE
WASHINGTON COUNTY BOARD
OF COMMISSIONERS; DIANA
IREY VAUGHAN, Chair,
Washington County Board of
Commissioners; MELANIE R.
OSTRANDER, Washington County
Director of Elections; THE INDIANA
COUNTY COMMISSIONERS;
MICHAEL KEITH, Chairman,
Indiana County Commissioners;
DEBRA L. STREAMS, Indiana
County Director of Voter Registration;
THE CARBON COUNTY BOARD
OF COMMISSIONERS; WAYNE E.
NOTHSTEIN, Chairman, Carbon
County Board of Commissioners;
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 2 of 25




LISA DART, Carbon County Director
of Elections; with all individual
defendants sued in their official
capacities only,

                    Defendants,
       v.
COMMON CAUSE
PENNSYLVANIA; and LEAGUE OF
WOMEN VOTERS OF
PENNSYLVANIA,
                    Defendant
                    Intervenors.
                       FIRST AMENDED COMPLAINT

      Plaintiff Judicial Watch, Inc., by and through counsel, files this First Amended

Complaint for declaratory and injunctive relief against the Commonwealth of

Pennsylvania; Veronica Degraffenreid, in her official capacity as Acting Secretary

of the Commonwealth, and named agencies and officials with responsibilities

relating to elections in Luzerne County, Cumberland County, Washington County,

Indiana County, and Carbon County.

      1.    Plaintiff seeks declaratory and injunctive relief to compel Defendants

to comply with their voter list maintenance obligations and their record production

obligations under Section 8 of the National Voter Registration Act of 1993

(“NVRA”), 52 U.S.C. § 20507.




                                          2
        Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 3 of 25




                             JURISDICTION AND VENUE

       2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1331, as this action arises under the laws of the United States and under 52 U.S.C. §

20510(b)(2), as the action seeks injunctive and declaratory relief under the NVRA.

       3.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

a defendant resides in this district and all defendants reside in Pennsylvania, and

because a substantial part of the events and omissions giving rise to the claims herein

occurred in this district.

                                     PARTIES

       4.     Plaintiff Judicial Watch, Inc. (“Judicial Watch”) is a not-for-profit,

educational organization incorporated under the laws of the District of Columbia and

headquartered at 425 Third Street SW, Suite 800, Washington, D.C. 20024.

       5.     Defendant Commonwealth of Pennsylvania is a “State” subject to the

requirements of the NVRA. 52 U.S.C. §§ 20502(4), 20503.

       6.     Defendant Acting Secretary Veronica Degraffenreid was appointed to

be the Secretary of the Commonwealth of Pennsylvania and to oversee the

Department of State. She and her department are charged with implementing,

regulating, and administering Pennsylvania’s Statewide Uniform Registry of

Electors (“SURE”) voter registration database. 25 PA. C.S. §§ 1201 and 1222(e) and

(f).   Secretary Degraffenreid is Pennsylvania’s chief State election official,


                                          3
          Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 4 of 25




responsible under federal law for coordinating the State’s compliance with the

NVRA. 52 U.S.C. § 20509.

      7.      Defendant Luzerne County Council is an agency established under state

law with jurisdiction over the conduct of elections within the county.

      8.      Defendant Tim McGinley is the Chair of the Luzerne County Council.

      9.      Defendant Shelby Watchilla is the Director of Elections for Luzerne

County.

      10.     Defendant Cumberland County Board of Commissioners is an agency

established under state law with jurisdiction over the conduct of elections within the

county.

      11.     Defendant Gary Eichelberger is the Chair of the Cumberland County

Board of Commissioners.

      12.     Defendant Bethany Salzarulo is the Cumberland County Director of

Elections.

      13.     Defendant Washington County Board of Commissioners is an agency

established under state law with jurisdiction over the conduct of elections within the

county.

      14.     Defendant Diana Irey Vaughan is the Chair of the Washington County

Board of Commissioners.




                                          4
          Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 5 of 25




      15.       Defendant Melanie R. Ostrander is the Washington County Director of

Elections.

      16.       Defendant Indiana County Commissioners is an agency established

under state law with jurisdiction over the conduct of elections within the county.

      17.       Defendant Michael Keith is the Chairman of the Indiana County

Commissioners.

      18.       Defendant Debra L. Streams is the Indiana County Director of Voter

Registration.

      19.       Defendant Carbon County Board of Commissioners is an agency

established under state law with jurisdiction over the conduct of elections within the

county.

      20.       Defendant Wayne E. Nothstein is the Chairman of the Carbon County

Board of Commissioners.

      21.       Defendant Lisa Dart is the Carbon County Director of Elections.

      22.       All individual Defendants are sued in their official capacities only.

                            STATUTORY BACKGROUND

      23.       The NVRA requires states to “conduct a general program that makes a

reasonable effort to remove the names of ineligible voters from the official lists of

eligible voters” by reason of death or change of address. 52 U.S.C. § 20507(a)(4).




                                             5
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 6 of 25




      24.    Under Section 8 of the NVRA, a voter becomes “ineligible” and subject

to removal from a jurisdiction’s voter rolls when the voter asks to be removed from

the rolls, does not respond to an address inquiry and fails to vote during a specified

statutory period, dies, or is disqualified from voting under state law because of a

criminal conviction or mental incapacity; or when an erroneous registration record

is corrected. 52 U.S.C. § 20507(a)(3), (4)(A), 4(B), (c)(2)(B)(ii).

      25.    The NVRA provides that a voter must be removed from a jurisdiction’s

voter rolls if the voter either confirms in writing that he or she has moved outside

the jurisdiction, or fails to respond to an address confirmation notice and then fails

to vote during a statutory waiting period extending from the date of the notice

through the next two general federal elections. 52 U.S.C. §§ 20507(d)(1), (d)(3); 52

U.S.C. § 21083(a)(4)(A).

      26.    Pennsylvania law requires each county registration commission to

institute a program to “protect the integrity of the electoral process,” “ensure the

maintenance of accurate and current registration records,” and “identify registered

electors whose address may have changed.” 25 PA. C.S. § 1901(a), (b).

      27.    Pennsylvania law provides, like the NVRA, that an elector may be

removed from the rolls if the elector either confirms a move outside of the county in

writing, or fails to respond to a forwardable notice and then fails to vote during a




                                          6
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 7 of 25




waiting period extending from the date of the notice through the next two general

federal elections. 25 PA. C.S. § 1901(d)(1)(ii).

      28.    Federal regulations and Pennsylvania’s list maintenance laws and

related Commonwealth documents refer to voter registrations as “inactive” when a

registrant has failed to respond to a notice and will be subject to removal if the

registrant then fails to vote in the next two general federal elections. 11 C.F.R. §

9428.7; 25 PA. C.S. § 1901(c).

      29.    Under both the NVRA and Pennsylvania law, voters whose

registrations are inactive may still vote on election day. 52 U.S.C. § 20507(d)(2)(A);

25 PA. C.S. § 1902.

      30.    In June of each odd-numbered year, the U.S. Election Assistance

Commission (“EAC”) is required by law to report to Congress its findings related to

state voter registration practices. 52 U.S.C. § 20508(a)(3). Federal regulations

require states to provide various kinds of data to the EAC for use in this biennial

report, including the numbers of active and inactive registered voters in the last two

federal elections, and the numbers of registrations removed from the rolls for any

reason between those elections. 11 C.F.R. § 9428.7(b)(1), (2), (5).




                                          7
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 8 of 25




                                       FACTS

I.    Judicial Watch’s Background, Mission, and Membership.

      31.      Judicial Watch’s mission is to promote transparency, integrity, and

accountability in government and fidelity to the rule of law. The organization, which

has been in existence since 1994, fulfills its mission through public records requests

and litigation, among other means.

      32.      Judicial Watch is supported in its mission by hundreds of thousands of

individuals across the nation. An individual becomes a member of Judicial Watch

by making a financial contribution, in any amount, to the organization. Members’

financial contributions are by far the single most important source of income to

Judicial Watch and provide the means by which the organization finances its

activities in support of its mission. Judicial Watch in turn represents the interests of

its members.

      33.      Over the past several years, Judicial Watch’s members have become

increasingly concerned about the state of the nation’s voter registration rolls,

including whether state and local officials are complying with the NVRA’s voter list

maintenance obligations.

      34.      Specifically, members are concerned that failing to comply with the

NVRA’s voter list maintenance obligations undermines the integrity of elections by

increasing the opportunity for ineligible voters to cast ballots.


                                           8
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 9 of 25




      35.    In response to this concern, Judicial Watch commenced a nationwide

program to monitor state and local election officials’ compliance with their NVRA

list maintenance obligations. As part of this program, Judicial Watch utilizes NVRA

Section 8(i) and public records laws to request and receive records from jurisdictions

across the nation about their voter list maintenance efforts. It also obtains and

analyzes voting and population data from the EAC and U.S. Census Bureau. It then

analyzes these records and data and publishes the results of its findings to its

members and the general public.

II.   Data Available from Election Assistance Commission Survey Responses.

      36.    In June 2019, the EAC published its biennial, NVRA-related report,

entitled ELECTION ADMINISTRATION      AND     VOTING SURVEY, 2018 COMPREHENSIVE

REPORT, A REPORT TO THE 116TH CONGRESS (“EAC Report”). The report is available

at https://www.eac.gov/research-and-data/studies-and-reports by clicking on “2018

Election Administration and Voting Survey Report.”

      37.    Along with its report, the EAC published the responses it received to

its voter registration survey, the Election Administration and Voting Survey

(“EAVS”), which it sent to the states concerning the reporting period from

November 2016 through November 2018. The survey instrument sent by the EAC

is available at https://www.eac.gov/research-and-data/datasets-codebooks-and-

surveys under a 2018 link entitled “2018 Election Administration and Voting Survey


                                          9
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 10 of 25




Instrument.” The states, in consultation with their county and local officials,

provided their responses to the survey directly to the EAC.

      38.     The states’ responses to that survey are compiled on the same webpage

under the heading “EAVS Datasets Version 1.3 (released July 15, 2020).” This

dataset includes all updates states submitted to the EAC amending their original

responses. In particular, this dataset includes updates that the Commonwealth of

Pennsylvania and the Secretary submitted to the EAC as a result of this lawsuit and

filed with their initial answer. Doc. 33 ¶¶ 39-41, Doc. 33-1.

      39.     The most recent voter registration survey from the EAC concerned the

period from November 2018 through November 2020. Under federal law, states

were required to submit their responses to this survey to the EAC by March 2021.

11 C.F.R. § 9428.7(a).

      40.     In November 2020, Judicial Watch requested documents and

information from Defendants concerning their responses to the EAC’s latest survey.

After a number of extensions, Defendants took the position that they would not

produce the requested documents and information for several more months. Docs.

64, 66.     Following a telephone conference with Magistrate Judge William I.

Arbuckle, Defendants, on April 12, 2021, produced to Judicial Watch documents

and information they already had submitted to the EAC in response to its latest

survey.


                                         10
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 11 of 25




       41.   Between (1) the EAC survey responses for the period from 2016 to

2018, published online by the EAC as discussed supra in paragraphs 37-38, and (2)

the EAC survey responses for the period from 2018 to 2020 produced in discovery

in this lawsuit, Judicial Watch has access to four years of data concerning

Defendants’ compliance with the NVRA.            All of this data was gathered by

Defendants themselves and submitted to the federal government. Data concerning

Pennsylvania from these two sources is referred to herein as “EAVS Data.”

III.   Relevant Admissions Concerning the County Defendants.

       42.   Question A9e in the EAC’s last two survey instruments (viz., the

surveys for 2018-2020 and 2016-2018) asked jurisdictions to report the number of

registrations removed where the “[r]eason for [r]emoval” was “[f]ailure to respond

to notice sent and failure to vote in two most recent federal elections.” This question

plainly refers to removals under Section 8(d)(1)(B) of the NVRA.

       43.   If a jurisdiction removes few or no registration records belonging to

electors who fail to respond to an address confirmation notice and fail to vote in two

consecutive federal elections, that jurisdiction is not complying with Section

8(d)(1)(B) of the NVRA.

       44.   EAVS Data shows that Defendant Luzerne County, with a total of

219,675 voter registrations, removed 61 registrations pursuant to Section 8(d)(1)(B)




                                          11
        Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 12 of 25




of the NVRA from 2018 to 2020, and removed 96 registrations pursuant to that

provision from 2016 to 2018.

        45.   EAVS Data shows that Defendant Cumberland County, with a total of

186,656 voter registrations, removed 85 registrations pursuant to Section 8(d)(1)(B)

of the NVRA from 2018 to 2020, and removed 705 registrations pursuant to that

provision from 2016 to 2018.

        46.   EAVS Data shows that Defendant Washington County, with a total of

153,573 voter registrations, removed a total of three registrations pursuant to Section

8(d)(1)(B) of the NVRA in the four years from November 2016 through November

2020.

        47.   EAVS Data shows that Defendant Indiana County, with a total of

51,591 voter registrations, removed a total of 17 registrations pursuant to Section

8(d)(1)(B) of the NVRA in the four years from November 2016 through November

2020.

        48.   EAVS Data shows that Defendant Carbon County, with a total of

46,782 voter registrations, removed zero registrations pursuant to Section 8(d)(1)(B)

of the NVRA in the four years from November 2016 through November 2020.

        49.   The foregoing four-year removal totals pursuant to Section 8(d)(1)(B)

for Defendants Luzerne County, Cumberland County, Washington County, Indiana




                                          12
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 13 of 25




County, and Carbon County, equal or round to zero percent of each county’s total

number of voter registrations.

      50.   It is not possible as a practical matter to comply with the NVRA while

removing as few registrations pursuant to Section 8(d)(1)(B) as were removed by

Defendants Luzerne County, Cumberland County, Washington County, Indiana

County, and Carbon County from November 2016 through November 2020.

      51.   Defendants Luzerne County, Cumberland County, Washington

County, Indiana County, and Carbon County have a combined total of 658,277 voter

registrations. Yet those five counties removed a combined total of 967 registrations

pursuant to Section 8(d)(1)(B) of the NVRA in the last four years from November

2016 through November 2020. Moreover, the vast majority of these registrations

were removed in Cumberland County more than two years ago.

      52.   By way of comparison, EAVS Data shows that Lackawanna County,

Pennsylvania, with fewer total voter registrations than Defendants Luzerne County,

Cumberland County, or Washington County, removed 11,597 registrations pursuant

to Section 8(d)(1)(B) of the NVRA in the four years from November 2016 through

November 2020.

      53.   By way of comparison, EAVS Data shows that Clinton County, with a

total of 22,110 voter registrations, removed 2,034 registrations pursuant to Section

8(d)(1)(B) of the NVRA in the four years from November 2016 through November


                                        13
      Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 14 of 25




2020. That number is more than twice the number removed pursuant to that statute

by Defendants Luzerne County, Cumberland County, Washington County, Indiana

County, and Carbon County, combined, during the same four-year period.

      54.   If a jurisdiction is complying with the NVRA, the largest category of

removals for a change of residence is typically the category of removals made

pursuant to Section 8(d)(1)(B).

      55.   By way of comparison, EAVS Data shows that, in Lackawanna County,

the number of removals pursuant to Section 8(d)(1)(B) is greater than the number of

removals confirmed in writing pursuant to Section 8(d)(1)(A), and the number of

confirmation notices received back confirming the registrant’s current residence,

combined.

      56.   By way of comparison, EAVS Data shows that, in Clinton County, the

number of removals pursuant to Section 8(d)(1)(B) is greater than the number of

removals confirmed in writing pursuant to Section 8(d)(1)(A), and the number of

confirmation notices received back confirming the registrant’s current residence,

combined.

      57.   The EAVS Data shows a multi-year failure by Defendants Luzerne

County, Cumberland County, Washington County, Indiana County, and Carbon

County to comply with the core requirements of Section 8(d)(1)(B) of the NVRA.




                                        14
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 15 of 25




      58.    This failure also shows that Defendant Acting Secretary Degraffenreid

is not fulfilling her duty to coordinate State responsibilities under the NVRA. United

States v. Missouri, 535 F.3d 844, 850, 851 (8th Cir. 2008).

IV.   Relevant Admissions Concerning Other Pennsylvania Counties.

      59.    The EAVS Data shows that the total numbers of registrations removed

pursuant to the procedures set forth in Section 8(d)(1)(B) of the NVRA are extremely

low in many other Pennsylvania counties that are not named as defendants here.

      60.    The EAVS Data shows that the number of registrations removed

pursuant to the procedures set forth in Section 8(d)(1)(B) of the NVRA were

extremely low in the four-year period from November 2016 through November 2020

in Jefferson County (two such removals during that period), Warren County (one

removal), Wyoming County (six removals), and Forest County (zero removals).

      61.    The EAVS Data also shows that the number of registrations removed

pursuant to the procedures set forth in Section 8(d)(1)(B) of the NVRA were

extremely low in the most recent two-year period, from November 2018 through

November 2020, in Northumberland County (two such removals during that period),

Armstrong County (nine removals), Bedford County (15 removals), Clarion County

(zero removals), and Snyder County (zero removals).

      62.    Other Pennsylvania counties have confirmed directly to Judicial Watch

that they removed ineligible registrations under Section 8(d)(1)(B) of the NVRA not


                                         15
          Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 16 of 25




as required after the second federal election of inactivity, but only after receiving a

notice-of-violation letter from Judicial Watch.

          63.   Counsel for Crawford County, Pennsylvania stated in a July 21, 2021

letter that “upon receiving your correspondence the current Director of Elections

realized that she had not taken the final step of actually removing inactive voters

from the rolls.” The letter stated that 3,809 inactive registrations have since been

removed.

          64.   Counsel for Montour County, Pennsylvania stated in a May 4, 2021

letter that “the former county voter registrar … began the process to address the

inactive voters” but did not complete it. The letter stated that 775 inactive registrants

have since been removed.

          65.   The Clerk of Cameron County, Pennsylvania stated in a May 14, 2021

letter:

                  Your notice brought to our attention that the Job Aid we were
                  using for this purpose (through the SURE system used
                  throughout the state) did not include the final step to remove
                  registrants. Upon our call to the SURE Help Desk, they
                  reviewed the situation and provided further instruction for a
                  final removal step which we did not have prior.

          The letter added that 103 registrants had since been removed by this

procedure.




                                           16
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 17 of 25




      66.      Counsel for Mifflin County, Pennsylvania indicated on May 4, 2021

that 1,028 “ineligible voters were removed from the voter rolls” in a period of time

ending after the county received a notice-of-violation letter from Judicial Watch.

      67.      Last year David Voye, Elections Manager for Allegheny County,

Pennsylvania, stated in a televised report that “I would concede that we are behind

in culling our rolls” and that it was an activity that had “been put on the back burner.”

Allegheny County only took action regarding this failure after receiving a notice

letter from Judicial Watch in December 2019. Under Threat Of Lawsuit, Allegheny

Co. Purging 69,000 Inactive Voters From Rolls (CBS Pittsburgh, Jan. 14, 2020),

available at https://pittsburgh.cbslocal.com/2020/01/14/allegheny-county-board-of-

elections-voter-rolls/.

      68.      The low numbers of registrations in many Pennsylvania counties and

the outright concessions by county officials that they have not been complying with

the NVRA indicate that Defendant Acting Secretary Degraffenreid is not fulfilling

her duty to coordinate State responsibilities under the NVRA.

V.    Admissions Concerning the Accuracy of Pennsylvania’s NVRA-Related
      Records.

      69.      States are required by federal law to keep accurate records and

information regarding their NVRA-related activities and accurately report such

records and information.       See 11 C.F.R. § 9428.7; 52 U.S.C. §§ 20507(i),

20508(a)(3).

                                           17
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 18 of 25




      70.    In response to Judicial Watch’s initial filing of this lawsuit, the State

Defendants amended the data they previously submitted to the EAC, as they reported

in their initial answer. Doc. 33 ¶¶ 39-41, Doc. 33-1. These amendments had the

effect of exponentially increasing the number of registrations removed in certain

counties.

      71.    In seeking to avoid producing documents and information concerning

Defendants’ March 2021 responses to the EAC’s latest survey, Defendants filed a

letter with the Court taking the position that producing these documents and

information would “give rise to the peril of reliance on wrong numbers, again.” Doc.

66 at 2.

      72.    State Defendants’ chronic failure to maintain and report accurate list

maintenance data is a violation of federal law and shows that Defendants have not

implemented a general program that makes a reasonable effort to remove the names

of ineligible voters as required by the NVRA.

VI.   Judicial Watch’s Notice Letters and Defendants’ Responses.

      73.    On April 22, 2021, Judicial Watch sent a notice-of-violation letter to

the State Defendants setting forth a range of violations against the State and against

27 identified counties. Doc. 75-1.

      74.    On July 16, 2021, Kathleen M. Kotula, Executive Deputy Chief

Counsel of the Office of Chief Counsel at the Department of State, responded with


                                         18
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 19 of 25




a brief letter. It attached and referred to a one-page chart purporting to state the

“Continuous Inactive Voters as of July 16, 2021.”

      75.       Neither the letter nor the chart specifically denied or even addressed

any of the EAVS Data concerning the extremely low numbers of removals in many

counties pursuant to Section 8(d)(1)(B) of the NVRA. Indeed, the data presented

with the July 16, 2021 letter did not contradict the Defendants’ submitted responses

to survey question A9e in any way.

      76.       The data presented with the July 16, 2021 letter was, moreover,

significantly inconsistent—often by multiples or by thousands of registrations—

with public data sources, including a public data source referred to in that same letter.

      77.       On May 3, 2021, Judicial Watch sent notice-of-violation letters directly

to each of the 27 counties discussed in the April 22, 2021 letter, making county-

specific allegations. Each letter was also addressed and sent to the Secretary of the

Commonwealth as the chief State election official under the NVRA. See, e.g., Doc.

75-2 (to Armstrong County).

      78.       Defendants Luzerne County, Cumberland County, Washington

County, Indiana County, and Carbon County never responded to the notice letters

sent to them.

      79.       Luzerne County was publicly reported to have removed over 17,000

registrations on or about June 1, 2021, about four weeks after it received the notice-


                                            19
        Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 20 of 25




of-violation letter.     https://www.timesleader.com/top-stories/1497690/luzerne-

county-democrats-lost-most-voters-due-to-recent-purge.        The article expressly

stated that the removals were made “in response to a litigation threat” by Judicial

Watch. The article also noted that a similar program had not been completed since

2012.

        80.   In the foregoing circumstances, Defendant Luzerne County’s possible

voluntary compliance does not moot the claims against it. Friends of the Earth, Inc.

v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 189 (2000).

VII. Judicial Watch’s Injury.

        81.   Judicial Watch has expended substantial resources, including staff time,

investigating Defendants’ failure to comply with their NVRA voter list maintenance

obligations, communicating with both Commonwealth and numerous county

officials and concerned members about Defendants’ failure, researching statements

made by Defendants in their correspondence, and attempting to counteract their

noncompliance.

        82.   Judicial Watch expended resources to research claims in Defendants’

correspondence concerning the numbers of registrations removed in various

categories, to read and analyze the state reports and sources they cited, and to review

and analyze additional data made available by the EAC.

        83.   Judicial Watch was compelled to expend resources as stated above in


                                          20
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 21 of 25




part because Defendants’ record-keeping regarding crucial NVRA-related data

points was poor and inaccurate.

      84.    Judicial Watch was compelled to expend resources as stated above in

part because Defendants delayed producing relevant information to Judicial Watch

without sufficient cause for doing so.

      85.    The resources expended by Judicial Watch to investigate, address,

research, and counteract Defendants’ failure to comply with their NVRA voter list

maintenance obligations are distinct from and above and beyond Judicial Watch’s

regular, programmatic efforts to monitor state and local election officials’ NVRA

compliance. Were it not for Defendants’ failure to comply with their NVRA voter

list maintenance obligations, Judicial Watch would have expended these same

resources on its other regular, programmatic activities or would not have expended

them at all.     Instead, it diverted its resources to counteract Defendants’

noncompliance and to protect members’ rights.

VIII. Judicial Watch’s Members’ Injuries.

      86.    Members of Judicial Watch who are lawfully registered to vote in

Pennsylvania and in Luzerne County, Cumberland County, Washington County,

Indiana County, and Carbon County, and throughout Pennsylvania have a




                                         21
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 22 of 25




constitutional right to vote in state and federal elections, as well as a statutory right

to the safeguards and protections set forth in the NVRA.

      87.    Defendants’ failure to comply with their NVRA voter list maintenance

obligations has burdened the constitutional right to vote of Judicial Watch members

who are lawfully registered to vote in Luzerne County, Cumberland County,

Washington County, Indiana County, and Carbon County by undermining their

confidence in the integrity of the electoral process, discouraging their participation

in the democratic process, and instilling in them the fear that their legitimate votes

will be nullified or diluted.

      88.    Defendants’ failure to satisfy their NVRA voter list maintenance

obligations also infringes the statutory rights of those Judicial Watch members who

are lawfully registered to vote in Pennsylvania and in County Defendants. These

individuals have a statutory right to vote in elections for federal office that comply

with the procedures and protections required by the NVRA, including the voter list

maintenance obligations set forth in Section 8.

      89.    Protecting the voting rights of Judicial Watch members who are

lawfully registered to vote in Pennsylvania and in County Defendants is germane to

Judicial Watch’s mission. It also is well within the scope of the reasons why

members of Judicial Watch join the organization and support its mission.




                                           22
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 23 of 25




      90.       Because the relief sought herein will inure to the benefit of Judicial

Watch members who are lawfully registered to vote in Pennsylvania and in County

Defendants, neither the claims asserted nor the relief requested requires the

participation of individual members.

      91.       In March 2020, nearly one thousand Judicial Watch members who are

registered to vote throughout Pennsylvania confirmed to Judicial Watch’s staff that

they were concerned about Defendants’ failure to satisfy their voter list maintenance

obligations under the NVRA and the resulting harm to these members’ voting rights.

                                            COUNT I

             (Violation of Section 8(a)(4) of the NVRA, 52 U.S.C. § 20507(a)(4))

      92.       Plaintiff realleges all preceding paragraphs as if fully set forth herein.

      93.       Judicial Watch and its members are all persons aggrieved by a violation

of the NVRA, as set forth in 52 U.S.C. § 20510(b)(1).

      94.       The April 22, 2021 letter to the Secretary, and the May 3, 2021 letters

to each named county and the Secretary, constituted statutory notice, pursuant to 52

U.S.C. § 20510(b)(1), of violations of Section 8(a)(4) of the NVRA.

      95.       Defendants have failed to fulfill their obligations under Section 8(a)(4)

of the NVRA to conduct a general program that makes a reasonable effort to cancel

the registrations of registrants who are ineligible to vote in Pennsylvania’s federal

elections.


                                             23
       Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 24 of 25




      96.    Judicial Watch and its members have suffered, and will continue to

suffer, irreparable injury as a direct result of Defendants’ failure to fulfill their

obligations to comply with Section 8(a)(4) of the NVRA.

      97.    Plaintiff has no adequate remedy at law.

                                   Prayer for Relief

      WHEREFORE, Plaintiff prays for entry of a judgment:

      a.     Declaring Defendants to be in violation of Section 8(a)(4) of the

NVRA;

      b.     Permanently enjoining Defendants from violating Section

8(a)(4) of the NVRA;

      c.     Ordering Defendants to develop and implement a general

program that makes a reasonable effort to remove the registrations of

ineligible registrants from the voter rolls of Pennsylvania, Luzerne County,

Cumberland County, Washington County, Indiana County, and Carbon

County;

      d.     Ordering Defendants to pay Plaintiff’s reasonable attorney’s

fees, including litigation expenses and costs, as allowed under 52 U.S.C. §

20510(c); and




                                            24
      Case 1:20-cv-00708-CCC Document 85 Filed 11/08/21 Page 25 of 25




      e.      Awarding Plaintiff such other and further relief as this Court deems just

and proper.



August 11, 2021                                /s Robert D. Popper
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                                          25
